      Case 4:01-cr-00212-DPM           Document 1068        Filed 10/06/10      Page 1 of 2




                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION


FONTAINE SHERMAN                                  *
                                                  *
vs.                                               *      No. 4:01CR00212 SWW
                                                  *
UNITED STATES OF AMERICA                          *
                                                  *
                                                  *


                                    Memorandum and Order

       Before the Court is a motion for a writ of error coram nobis filed by Fontaine Demond

Sherman (“Sherman”) to which the government responded. Sherman filed a reply to the

response. For the reasons stated below, the motion is denied.

       Sherman was convicted of conspiracy to distribute and possess with intent to distribute

more than 5 kilograms of cocaine and more than 50 grams of cocaine base. The Court enhanced

Sherman’s statutory minimum sentence after finding he had a prior conviction for a drug felony

in California. The enhancement resulted in Sherman facing a mandatory minimum sentence of

twenty years rather than ten years. The Court sentenced Sherman to twenty years in prison.

       The Eighth Circuit affirmed Sherman’s conviction and sentence on appeal, United States

v. Sherman, 440 F.3d 982 (8th Cir. 2006); denied a motion for certificate of appealability as to his

motion for relief pursuant to 28 U.S.C. § 2255 and a hearing; and affirmed the denial of his

motions for a new trial. United States v. Sherman, 366 Fed.Appx. 704 (8th Cir. 2010). Now he

seeks relief from his sentence by writ of error coram nobis, arguing there was no hearing to

establish his conviction for the California drug offense, he had no opportunity to challenge the
      Case 4:01-cr-00212-DPM              Document 1068           Filed 10/06/10       Page 2 of 2




enhancement, and the Court failed to follow the colloquy requirement of 21 U.S.C. § 851(b)

before enhancing his sentence.

        The Court finds Sherman is not entitled to a writ of error coram nobis because he is still

in federal custody. United States v. Noske, 235 F.3d 405, 406 (8th Cir. 2000)(case law precludes

coram nobis relief to a federal prisoner). Further, the claims presented by his request for a writ

attack the validity of his sentence which are solely cognizable under a motion to vacate, set aside

or correct a sentence under 28 U.S.C. § 2255. There is a one-year period of limitation applicable

to motions filed under § 2255, and before a prisoner may file a second or successive petition, he

must obtain a certification from the court of appeals. See 28 U.S.C. § 2255(h).1

        IT IS THEREFORE ORDERED that the motion for writ of error coram nobis [docket

entry 1051] is denied.

        DATED this 6th day of October, 2010.

                                                          /s/Susan Webber Wright

                                                          UNITED STATES DISTRICT JUDGE




        1
         Sherman moved, in the alternative, for a certificate of appealability under Fed.R.App.P. 22(b). The
Court assumes this is a request for permission to file a second or successive motion for relief under § 2255.
Such a motion must be made in the court of appeals.

                                                     2
